Case 2:24-cv-04751-RPK-JMW          Document 43       Filed 02/28/25      Page 1 of 22 PageID #:
                                          1048



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                         X
  SUSAN LASK,

                                     Plaintiff,
                                                                        MEMORANDUM
                                                                          AND ORDER
                 -against-                                          24-cv-04751 (RPK) (JMW)


  DAVID P. FALLON, LAW OFFICE OF DAVID P.
  FALLON, PLLC, and SAIKAT SINHA,

                                     Defendants.
                                                         X

  A P P E A R A N C E S:

       Susan Chana Lask, Esq.
       Law Offices of Susan Chana Lask
       244 Fifth Avenue, Suite 2369
       New York, NY 10001
       Appearing Pro Se, Representing Self

       David P. Fallon, Esq.
       Fallon & Fallon, LLP
       53 Main Street
       Sayville, NY 11782
       Attorney for Defendants David P. Fallon
       and Law Office of David P. Fallon, PLLC

       Saikat Sinha
       65 Abbot Avenue
       Mastic, NY 11782
       Appearing Pro Se

  WICKS, Magistrate Judge:

        Plaintiff Susan Lask (“Plaintiff” or “Lask”), a New York attorney domiciled in the State

 of Florida, commenced this action on July 9, 2024 against Defendants David P. Fallon

 (“Fallon”), a New York attorney domiciled in New York, his law office, the Law Office of

 David P. Fallon, PLLC, and Lask’s former client, Saikat Sinha (“Sinha”), an individual

                                                  1
Case 2:24-cv-04751-RPK-JMW               Document 43          Filed 02/28/25       Page 2 of 22 PageID #:
                                               1049



 domiciled in New York (collectively, “Defendants”), alleging: (i) breach of contract against

 Defendant Sinha, (ii) quantum meruit against Defendant Sinha, (iii) account stated against

 Defendant Sinha, (iv) abuse of process against Defendants, and (v) a violation of New York

 Judiciary Law (“NYJL”) Section 487 against Defendants, all arising out of Lask’s prior

 representation of Sinha in a state court matrimonial proceeding, Sinha v. Sinha, Index No.

 611274/2020, Supreme Court of the State of New York, Suffolk County (the “Matrimonial

 Proceeding”). (See generally, ECF Nos 1, 7.) Specifically, Lask alleges Defendant Sinha

 breached his retainer agreement with her and owes her $37,272.50, with interest accruing at

 .75% since March 2023, and Defendant Fallon violated NYJL Section 487 during his

 representation of Defendant Sinha against the Plaintiff, after Lask was discharged by Sinha in

 March of 2023. (Id.) 1

         On November 12, 2024, Defendants Fallon and the Law Office of David P. Fallon, PLLC

 (hereafter, the “Fallon Defendants”) moved to dismiss all Counts asserted in Plaintiff’s Amended

 Complaint pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure

 (“FRCP”). (ECF No. 21.) The Fallon Defendants subsequently moved to stay discovery pending

 the outcome of their Motion to Dismiss (ECF No. 32), and Defendant Sinha later joined in

 support of the Fallon Defendants’ motion to stay on January 29, 2025. (ECF No. 37.) Plaintiff

 vehemently opposes the motion to stay. (ECF No. 36.) Accordingly, now before the Court is

 Defendants’ Motion to Stay (ECF Nos. 32, 37), which is opposed by Plaintiff (ECF No. 36). For

 the reasons stated herein, Defendants’ motion to stay discovery pending the motion to dismiss

 (ECF No. 32) is DENIED.




 1
  This action is predicated on diversity jurisdiction and the jurisdictional amount appears to be satisfied
 because of the claim for treble damages under the Judiciary Law discussed below.
                                                      2
Case 2:24-cv-04751-RPK-JMW                 Document 43         Filed 02/28/25        Page 3 of 22 PageID #:
                                                 1050




                                               BACKGROUND

 I.         Factual Background

            Plaintiff Susan Lask is a New York Attorney domiciled in the State of Florida. (ECF No.

 7 at ¶ 6.) Defendants are David P. Fallon, a New York attorney domiciled in New York (id. at ¶

 7), his law office, the Law Offices of David P. Fallon, PLLC, doing business from its principal

 office in Sayville, New York (id.), and Saikat Sinha, an individual domiciled in New York. (Id.

 at ¶ 8.)

            Plaintiff alleges a contract existed between Plaintiff and Defendants Sinha pursuant to the

 terms of a retainer (hereafter, the “Retainer Agreement”) that included:

            a $28,500 initial flat fee retainer covering services from January 6, 2023 to February 8,
            2023 limited to reviewing and digesting his extensive Divorce and Family Court and
            Google Drive files, advising Defendant Sinha on a strategy likely involving a new OSC,
            engaging in settlement discussions, research, [review bills from Defendant Sinha’s then-
            attorney, Lou Simonetti], and communications to draft a letter regarding his alleged legal
            malpractice, and any additional services during that time would be charged at $950 an
            hour, and after February 8, 2023, a second retainer for services at $950 an hour would be
            paid.

 (Id. at ¶ 125.)

            Defendant Sinha agreed to the terms of the contract and affirmed his agreement by

 paying the initial flat fee retainer on February 9, 2023, and part of the second retainer at $6,000

 on March 5, 2023, pursuant to the contract terms emailed and mailed to him on January 6, 2023,

 which he ultimately returned signed “as of January 6” on March 5, 2023. (Id.) Plaintiff asserts

 she performed services pursuant to the Retainer Agreement and Sinha has refused to pay. (Id. at

 ¶ 126-127.) Plaintiff asserts Sinha therefore breached the Agreement and owes $37,272.50, with

 interest accruing at .75% monthly since March of 2023. (Id. at ¶ 128.) 2


 2
     Plaintiff asserts two other causes of action arising out of Sinha’s alleged breach of the Agreement –
                                                        3
Case 2:24-cv-04751-RPK-JMW                     Document 43            Filed 02/28/25           Page 4 of 22 PageID #:
                                                     1051



          Plaintiff proceeded to file a charging lien in state court 3 and attempted to participate in a

 fee arbitration process with Defendant Sinha. (Id. at ¶ 115.) Defendant Sinha backed out of

 those proceedings once he employed Defendant Fallon as his attorney. (Id.) 4 Plaintiff alleges

 that Defendant Fallon proceeded to demand that she return all fees from her services for

 Defendant Sinha by “deliberately and knowingly mispresenting matrimonial law.” (Id.) On

 February 9, 2024, Defendant Fallon, on behalf of Defendant Sinha, presented an ex parte Order

 to Show Cause (“OSC”) to State Supreme Court Justice John J. Leo in the Matrimonial

 Proceeding that Plaintiff was not a party to, demanding that Lask give back Sinha’s fees. (ECF

 No. 22-16.) 5

          Specifically, Defendant Fallon made an application to Justice Leo to determine the

 attorney’s fees that Plaintiff was entitled to for her prior representation of Defendant Sinha in the

 Matrimonial Proceeding, and Plaintiff filed a cross-motion for sanctions and fees against

 Defendant Sinha and Defendant Fallon. (Id.) On November 12, 2024, the Court ultimately

 determined that it lacked jurisdiction over Sinha’s application against non-party Lask:

          This Court determines that it lacks jurisdiction over motion practice initiated by a former
          client against a former counsel who never appeared in the matter before this Court and is
          no longer the attorney of record in this case.

          As to the fee arbitration, Plaintiff maintains that he consented to fee arbitration believing
          that it would occur in New York County. Plaintiff did not consent to New York County
          hearing the fee dispute. As to the charging lien, such a lien is a security interest in the
          favorable result of litigation, giving an attorney equitable ownership in the client’s cause


 quantum meruit and accounts stated. (Id. at ¶ 129-139.)
 3
   Lask later withdrew her notice of charging lien. (ECF No. 22-16 at 3.)
 4
  Sinha discharged Lask in March of 2023, and, after she was discharged, Lask filed a charging lien with New York
 Supreme Court. (ECF No. 22 at 2, ¶ 8.)
 5
   Specifically, in February of 2024, Sinha submitted an OSC, requesting the Court: (i) determine the attorney’s fees,
 if any, that Lask is entitled to due to her alleged representation of Plaintiff, and (ii) order the return of any attorney’s
 fees paid to Lask by Sinha if the previously paid fees are in excess of the Court’s determination as to what fees, if
 any, Lask is entitled to. (ECF No. 22 at 2, ¶ 9 (a)-(c)..)

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Case 2:24-cv-04751-RPK-JMW              Document 43      Filed 02/28/25      Page 5 of 22 PageID #:
                                              1052



         of action and ensuring that the attorney can collect his/her fee from the fund he has
         created for that purpose on behalf of the client.

         Herein, neither Lask nor [Sinha] filed a petition. There is no identifiable fund in which to
         collect. Lask withdrew her notice of charging lien. Moreover, Lask never appeared in this
         case before this Court. Where an attorney never appeared in a proceeding, there is no
         jurisdiction upon an application seeking relief against that attorney.

 (Id. at 2-3.) The Court additionally denied Lask’s cross-motion for sanctions against Defendants

 Sinha and Fallon:

         In its discretion, a court may award costs and financial sanctions against an attorney or
         party resulting from frivolous conduct. [22 NYCRR 130-1.1(c)(1)] provides that conduct
         is frivolous if it is completely without merit in law and cannot be supported by a
         reasonable argument for an extension, modification or reversal of existing law, or if it is
         undertaken primarily to delay or prolong the resolution of the litigation, or to harass or
         maliciously injure another.

          The decision whether to impose costs or sanctions for frivolous conduct is generally
         entrusted to the Court’s sound discretion. Here [Sinha’s] and counsel’s actions do not rise
         to the level of conduct as contemplated by 22 NYCRR 130-1.1. Accordingly, it is
         ORDERED, non-party Lask’s request seeking sanctions and fees against Plaintiff and his
         counsel, Fallon, is denied.

 (Id. at 4) (internal citations omitted).

         Plaintiff alleges abuse of process against Defendant Fallon and Sinha – asserting they

 obtained the OSC “with an intent to do harm to Plaintiff by interfering with her personal life,

 business and livelihood to have to defend against the patently false accusations against Plaintiff’s

 good reputation and career as a licensed attorney in this state Defendants falsely accusing her of

 ‘serious misconduct.’” (ECF No. 7 at ¶ 141-142.) Plaintiff further asserts the OSC “was filed

 with malice as the Defendants repeatedly and knowingly made material misrepresentations of

 both fact and law to deceive the court into signing the OSC[,]” and, “[b]y reason of Defendants’

 abuse of process, Plaintiff was forced to expend money for legal representation by retaining co-

 counsel and she expended her own valuable time providing legal services representing herself.”

 (Id. at ¶ 147.)

                                                  5
Case 2:24-cv-04751-RPK-JMW            Document 43        Filed 02/28/25      Page 6 of 22 PageID #:
                                            1053



        Plaintiff further alleges Defendants violated NYJL § 487(1), which provides that:

        An attorney or counselor who…[i]s guilty of any deceit or collusion, or consents to any
        deceit or collusion, with intent to deceive the court or any party… [i]s guilty of a
        misdemeanor, and in addition to the punishment prescribed therefor by the penal law, he
        forfeits to the party injured treble damages, to be recovered in a civil action.

 NYJL § 487(1).

        Plaintiff claims Defendant Fallon engaged in deceit and collusion, and consented to the

 deceit and collusion with Sinha, by scheming with Sinha to appear before Judge Leo, ex parte,

 knowing he had no jurisdiction to sign an OSC to make Plaintiff appear before him, and knowing

 that the OSC Fallon drafted and “filed was wholly false and fraudulent filed only to deceive the

 [C]ourt into issuing an order against Plaintiff as part of Defendants scheme to extort her from

 money she rightfully earned.” (ECF No. 7 at ¶ 151.)

        Overall, Plaintiff demands judgment against all Defendants as follows: (i) actual,

 compensatory and equitable damages in an amount to be determined at trial, but in any event no

 less than $75,000, and attorney fees and costs of this action; (ii) punitive damages because

 Defendants “acted willfully or wantonly and maliciously and they continued to do so to this

 date[;]”and (iii) prejudgment interest at the rate of 9% per annum. (Id. at ¶ 153.)

 II.    Procedural History

        Plaintiff filed her original Complaint on July 9, 2024 (ECF No. 1), and then her Amended

 Complaint on September 7, 2024. (ECF No. 7.) On October 4, 2024, Defendant Fallon filed a

 letter expressing intention to file a motion to dismiss the Amended Complaint and requesting to

 assign a District Judge to the matter. (ECF No. 10.) The Hon. Rachel P. Kovner was assigned to

 this matter on October 7, 2024. (ECF No. 10.) The parties submitted a Proposed Scheduling

 Order dated November 5, 2024, wherein, according to Plaintiff, she listed her domicile as New




                                                  6
Case 2:24-cv-04751-RPK-JMW           Document 43        Filed 02/28/25      Page 7 of 22 PageID #:
                                           1054



 York by mistake. (ECF No. 15.) The Scheduling Order was entered by the Court on November

 6, 2024. (ECF No. 19.)

        Discovery has already begun in the case. (ECF No. 18.) Defendant Fallon filed his

 motion to dismiss the Amended Complaint on November 12, 2024. (ECF Nos. 21 ,22.) Judge

 Kovner ordered Plaintiff to respond to this motion by December 4, 2024. (See Electronic Order

 dated 11/13/2024.) Defendant Sinha joined the motion to dismiss on November 15, 2024. (ECF

 No. 25.) Plaintiff filed her opposition to the motion to dismiss on December 16, 2024. (ECF

 No. 28.) Defendant Fallon filed his reply to the Plaintiff’s opposition to his motion on December

 21, 2024. (ECF. No. 29.) Plaintiff moved for leave to file a sur-reply, but Judge Kovner denied

 that motion on December 23, 2024. (ECF No. 30; Electronic Order Dated 12/23/2024.) Judge

 Kovner also denied Plaintiff’s motion to strike affidavits in support of the motion to dismiss on

 January 10, 2025. (Electronic Order Dated 01/20/2025.)

        Defendant Fallon filed his motion to stay discovery pending resolution of his motion to

 dismiss on January 16, 2025. (ECF. No. 32.) On January 27, 2025, Plaintiff moved to amend her

 complaint and filed a response in opposition to the motion to stay discovery. (ECF Nos. 34-36.)

 On February 18, 2025, Defendant Sinha joined in support of the Fallon Defendants’ motion to

 stay. (ECF No. 39.)




                                                  7
Case 2:24-cv-04751-RPK-JMW             Document 43         Filed 02/28/25       Page 8 of 22 PageID #:
                                             1055



 III.    The Parties’ Contentions

         A.      Defendants’ Motion to Stay 6

         Defendants argue Plaintiff’s claims will likely be dismissed such that a stay is warranted

 here. First, Defendants contend Plaintiff’s Amended Complaint should be dismissed for lack of

 diversity jurisdiction. (ECF No. 22 at 4, ¶ 17.) Defendants identify that Plaintiff’s “own

 proposed scheduling order submitted to the [C]ourt and signed by the Court lists the Plaintiff and

 the Defendants’ citizenship as New York[,]” and, therefore, because all parties are New York

 citizens, diversity does not exist under 28 U.S.C. Section 1332. (Id.) Defendants further argue

 Plaintiff’s Amended Complaint “(filed without permission well after the date allowable) fails to

 meet the diversity threshold of $75,000,” as her Complaint is based on a claim for outstanding

 legal fees of only $32,272.50. (Id. at ¶ 18.)

         Second, Defendants argue Plaintiff’s claims for abuse of process and violation of NYJL §

 487(1) are “also barred given the decision of Justice Leo in the Supreme Court of the State of

 New York that [Sinha’s] application was not frivolous and thus not sanctionable[,]” which,

 according to Defendants, “binds [Lask] as it establishes that the [OSC] filing was not without

 merit and not taken to harass or maliciously injure another.” (Id. at ¶ 19.) Defendants maintain

 that if their OSC filing was without any merit, the New York State Supreme Court would have

 issued sanctions, and, as Lask “sought this relief the State Court action,” she is “bound by its

 holding” and cannot “seek similar relief in this action.” (Id.)


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   Defendant Sinha, proceeding pro se, joined in support of the Fallon Defendants’ motion to stay on
 January 29, 2025. (ECF No. 37.) Sinha reiterates the Fallon Defendants’ arguments in support of a stay,
 and further argues that “Plaintiff’s demand for discovery and request for interrogatories are extremely
 broad, []burdensome, expensive and extremely time consuming.” (Id. at 2). For example, Sinha argues
 that Plaintiff is demanding his “whole matrimonial filings from state court beginning around September
 2020 until March 6, 2023” which, according to Sinha, “is unnecessary and burdensome, because [Lask]
 was only handling his post-judgment Custody modification which was first filed in May 2022, so
 [P]laintiff should not need any document before May 2022.” (Id.)
                                                    8
Case 2:24-cv-04751-RPK-JMW             Document 43         Filed 02/28/25      Page 9 of 22 PageID #:
                                             1056



         Defendants further argue that a stay is warranted because: (i) “Plaintiff has served notices

 for discovery and requests for interrogatories that are quite broad that create quite a burden of

 response,” (ii) “this matter is in the very beginning stages,” and (iii) “no prejudice results to any

 party by waiting [to proceed with discovery] [pending] a decision on the motion [to dismiss].”

 (ECF No. 32 at 1.)

         B.      Plaintiff’s Response in Opposition

         Plaintiff objects to Defendants’ request to stay discovery on three grounds. (See

 generally, ECF No. 36.) First, she emphasized that she has always been domiciled in Florida

 and that it was a typo that made its way onto the Proposed Scheduling Order. (Id. at 2.) And,

 Plaintiff contends she has demonstrated that under the NYJL § 487, Defendant Fallon would be

 liable for treble damages, which would surpass the amount in controversy required under

 diversity. (Id.) 7 Second, Plaintiff rebuts the allegation that the State Court’s judgment on the

 OSC in Matrimonial Proceeding had any res judicata effect on the instant action:

         Fallon’s motion to dismiss focuses misrepresents that a state court decided the Judiciary
         Law 487 count. That is false because there was never a plenary action involving the
         parties or any of the counts in the complaint here. There was only a motion before a state
         court filed by Fallon that was rife with deceits of facts and law, which the state court
         found it lacked subject matter jurisdiction over, and consequently no personal jurisdiction
         over Plaintiff here, and in fact that state court confirmed only a plenary action can decide
         these issues. The law is clear that ‘section 487 must be read to allow a plenary action for
         deceit, even where success on that claim might undermine a separate final judgment.’




 7
   Plaintiff maintains “[t]he law is clear that Judiciary Law 487 damages are legal fees and expenses
 trebled” and she “does not have to qualify the exact amount because her original [C]omplaint and
 [Amended Complaint] both stated the amount was over the amount in controversy.” (ECF No. 36 at 2-3.)
 Plaintiff further specifies that the legal fees requested at $27,320,00 x 3= $82,140.00, “satisfies the
 amount in controversy.” (Id. at 3.)


                                                    9
Case 2:24-cv-04751-RPK-JMW               Document 43 Filed 02/28/25             Page 10 of 22 PageID #:
                                                1057



  (Id. at 3) (quoting Urias v. Daniel P. Buttafuoco & Assocs., PLLC, 238 N.E.3d 836, 842 (N.Y.

  2024)). Plaintiff also emphasized that discovery is not burdensome in these proceedings given

  that there are only two essential witnesses. (Id.)

                           MOTION TO STAY: THE LEGAL FRAMEWORK

            “‘[T]he power to stay proceedings is incidental to the power inherent in every court to

      control the disposition of the cases on its docket with economy of time and effort for itself, for

      counsel, and for litigants.’” Thomas v. N.Y. City Dep’t of Educ., No. 09-CV-5167, 2010 WL

      3709923, at *2 (E.D.N.Y. Sept. 14, 2010) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254

      (1936)). The mere filing of a dispositive motion, in and of itself, does not halt discovery

      obligations in federal court. 8 That is, a stay of discovery is not warranted, without more, by

      the mere pendency of a dispositive motion. Weitzner v. Sciton, Inc., No.CV 2005-2533,

      2006 WL 3827422, at *1 (E.D.N.Y. Dec. 27, 2006).

            Rather, the moving party must make a showing of “good cause” to halt discovery.

      Chesney v. Valley Stream Union Free Sch. Dist. No. 24, 236 F.R.D. 113, 115 (E.D.N.Y.

      2006); Fed. R. Civ. P. 16(b)(4) (discovery schedule “may be modified only for good cause

      and with the judge’s consent”); Ass’n Fe y Allegria v. Republic of Ecuador, Nos. 98 Civ.

      8650 (BSJ), No. 98 Civ. 8693 (BSJ), 1999 WL 147716, at *1 (S.D.N.Y. Mar. 16, 1999)

      (“Together, these provisions enable the district court to stay discovery where resolution of a

      preliminary motion may dispose of the entire action.”). In evaluating whether a stay of

      discovery pending resolution of a dispositive motion, courts typically consider: “(1) the

      breadth of discovery sought, (2) any prejudice that would result, and (3) the strength of the


  8
   Contrast this with New York state court practice which expressly provides for a stay of discovery
  pending the filing of a dispositive motion. See N.Y. CPLR 3214(b) (automatic stay of “disclosure” upon
  service of dispositive motion).


                                                      10
Case 2:24-cv-04751-RPK-JMW               Document 43 Filed 02/28/25              Page 11 of 22 PageID #:
                                                1058



      motion.” Robbins v. Candy Digital Inc., No. 23-CV-10619 (LJL), 2024 WL 2221362, at *1

      (S.D.N.Y. May 15, 2024) (internal citations omitted).

             “Upon a showing of good cause[,] a district court has considerable discretion to stay

      discovery pursuant to Rule 26(c).” Al Thani v. Hanke, No. 20-CV-4765 (JPC), 2021 WL 23312,

      at *1 (S.D.N.Y. Jan. 4, 2021) (alteration in original) (quoting Republic of Turkey v. Christies,

      Inc., 316 F. Supp. 3d 675, 677 (S.D.N.Y. 2018)). In assessing good cause, courts look to “the

      particular circumstances and posture of each case.” Ellington Credit Fund, Ltd. v. Select

      Portfolio Servs., Inc., No. 08 Civ. 2437 (RJS), 2008 WL 11510668, at *2 (S.D.N.Y. June 12,

      2008) (quoting Hachette Distrib., Inc. v. Hudson Cnty. News Co., 136 F.R.D. 356, 358

      (E.D.N.Y. 1991)). Au fond, the specific facts, circumstances, and context of the case guide the

      Court in deciding whether discovery should be stayed.

            It is against this backdrop that the present motion is considered.


                                               DISCUSSION
  I.        Strength of Defendants’ Motion to Dismiss Plaintiff’s Claim 9

            A.      Subject Matter Jurisdiction

            Defendants’ grounds for dismissal are addressed in seriatim. First, Defendants’

  argument that diversity jurisdiction here is lacking, based on a typographical error in a prior

  scheduling order listing New York as Plaintiff’s domicile, is likely meritless. ECF No. 19.

  Plaintiff noted her domicile is Florida in her original complaint and her First Amended

  Complaint. ECF Nos. 1, 7. This Court relies on the domicile proffered in those two pleadings


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   The Court’s consideration and analysis of the arguments set forth in Defendants’ Motion to Dismiss is
  purely for purposes of weighing whether a stay should be granted. This analysis should not in any way be
  construed as the Court prejudging the merits or predicting the outcome of the Motion to Dismiss which is
  pending before Judge Kovner for adjudication.


                                                      11
Case 2:24-cv-04751-RPK-JMW               Document 43 Filed 02/28/25                Page 12 of 22 PageID #:
                                                1059



  signed by the Plaintiff, as well as the recent Rule 7.1 Disclosure Statement recently filed by

  Plaintiff in another unrelated proceeding pending in the Southern District. 10

          Second, Defendants’ argument that diversity jurisdiction is lacking due to Plaintiff’s

  supposed failure to meet the amount in controversy is also likely meritless. In Plaintiff’s

  Amended Complaint, she sought “no less than $75,000” in “actual, compensatory, and equitable

  damages.” ECF No. 7 at 32. Furthermore, Plaintiff is also correct that based on Defendant

  Fallon’s alleged violations of NYJL § 487, she would be entitled to seek treble damages that,

  when totaled, would reach “82,140.00.” See ECF No. 36 at 3; see also Kirk v. Heppt, 532 F.

  Supp. 2d 586, 593 (S.D.N.Y. 2008) (finding that a party can recover treble damages in a civil

  action based on a violation of §487). The unambiguous language of the statute confirms: “an

  attorney or counselor who is guilty of any deceit . . . is guilty of a misdemeanor, and . . . forfeits

  to the party injured treble damages[.]” See NYJL §487 (emphasis added). This is clearly enough

  to meet the amount-in-controversy requirement of 28 U.S.C. §1332. See e.g., Juarbe v. Kmart

  Corp., No. 05-CV-1138, 2005 WL 1994010, at *2 (S.D.N.Y. Aug. 17, 2005) (internal citations

  and quotation marks omitted) (finding that a party need not prove the amount in controversy to

  an absolute certainty. Instead, a party has the burden of proving that it appears to a reasonable

  probability that the claim is in excess of the statutory jurisdictional amount).

          Third, Defendants’ claim that this action is procedurally foreclosed by the state court’s

  actions is likely incorrect. Given that Defendants failed to identify what doctrine they were


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    Of relevance to the instant motion to stay, Plaintiff was ordered to file a Rule 7.1 disclosure statement
  clarifying her domicile in a separate proceeding before the Southern District of New York. See Lask v
  Rhee-Karn et al., Case No. 24-cv-02666, ECF No. 56. That proceeding commenced in State Court on
  February 2, 2024, and was removed to federal court by the defendants on April 9, 2024. See id. at ECF
  No. 1 at 1. In her Rule 7.1 Statement submitted to the Southern District, Plaintiff confirmed that she was
  not domiciled in New York both at the time of the filing of her state complaint and on the date removal
  was filed. See id. at ECF No. 62 at 3.


                                                      12
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25             Page 13 of 22 PageID #:
                                              1060



  relying upon when arguing that the lower court’s judgment precluded this action, this Court shall

  analyze the applicability of two inter-related doctrines: (i) the Rooker-Feldman abstention

  doctrine and (ii) Res Judicata.

         The Rooker-Feldman abstention doctrine explicitly provides that “[f]ederal courts lack

  subject matter jurisdiction over cases brought by state-court losers complaining of injuries

  caused by state-court judgments rendered before the district court proceedings commenced and

  inviting district court review and rejection of those judgments.” Inn World Rep., Inc., Leonard C.

  LaBanco, Plaintiffs-Appellants, Thomas Kiely, Faith Kiely, John E. Morris, Plaintiffs, v. MB Fin.

  Bank NA, Fifth Third Bank, as successor in interest, Defendants-Appellees., No. 21-CV-2911,

  2022 WL 17841529, at *3 (2d Cir. Dec. 20, 2022) (“Inn World”) (internal quotation marks

  omitted); Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77, 85 (2d Cir. 2005) (citing 28

  U.S.C. § 1257(a)) (“Underlying the Rooker–Feldman doctrine is the principle, expressed by

  Congress in 28 U.S.C. § 1257, that within the federal judicial system, only the Supreme Court

  may review state-court decisions.”). “The doctrine applies where: (1) the federal-court plaintiff

  lost in state court; (2) the plaintiff complains of injuries caused by a state-court judgment; (3) the

  plaintiff seeks district court review and rejection of that judgment; and (4) the state-court

  judgment was rendered before the district court proceedings commenced.” Inn World, No. 21-

  CV-2911, 2022 WL 17841529, at *3.

         Here, it does not appear that the Rooker-Feldman doctrine applies given that the state

  court did not squarely address the two claims Defendants argue are procedurally foreclosed:

  Plaintiff’s claims for abuse of process and violations of NYJL § 487(1). (ECF No. 22 at 4.) The

  state court merely stated that they did not have jurisdiction over the attorney’s fees issue and

  denied Plaintiff’s cross-motion for sanctions against Defendants Fallon and Sinha. ECF No. 22-



                                                   13
Case 2:24-cv-04751-RPK-JMW                Document 43 Filed 02/28/25                 Page 14 of 22 PageID #:
                                                 1061



  16 at 4. This analysis would be vastly different had the state court ruled on Plaintiff’s legal fees

  dispute on the merits or ruled that both the abuse of process claims and the §487 claims were

  baseless. That is not the situation at hand.

            Moreover, a simple application of the Rooker-Feldman doctrine factors clearly

  demonstrate its inapplicability here: (i) the federal-court Plaintiff lost in state court regarding

  only a sanctions cross-motion, which is not raised as a claim in federal court, (ii) the Plaintiff is

  not complaining of injuries caused by the state-court judgment; rather, they are complaining of

  Defendants’ abuse of process and NYJL §487 violations (ECF No. 7), (iii) the Plaintiff is not

  seeking rejection of the state-court judgment, and (iv) the state-court judgment was rendered on

  November 12, 2024 after this federal court proceeding began on July 9, 2024. See ECF Nos. 1

  and 22-16 at 4. Thus, the only procedural question left is whether res judicata precludes this

  action.

            The undersigned also finds Plaintiff’s claims are likely not barred under res judicata

  (claim preclusion) and collateral estoppel (issue preclusion). 11 A “federal court must give a state-

  court judgment the same preclusive effect as would be given that judgment under the law of the

  State in which the judgment was rendered.” O'Connor v. Pierson, 568 F.3d 64, 69 (2d Cir.2009)

  (internal citation omitted). To successfully prove the affirmative defense of res judicata, the

  party asserting the defense must show: “(1) the previous action involved an adjudication on the

  merits; (2) the previous action involved the plaintiffs or those in privity with them; and (3) the


  11
     Collateral estoppel prevents a party “from relitigating in a subsequent action an issue of fact or law that
  was fully and fairly litigated in a prior proceeding.” Marvel Characters, Inc. v. Simon, 310 F.3d 280, 288
  (2d Cir. 2002). The Second Circuit has consistently held that issue preclusion applies when four elements
  are satisfied: “(1) the identical issue was raised in a previous proceeding; (2) the issue was actually
  litigated and decided in the previous proceeding; (3) the part[ies] had a full and fair opportunity to litigate
  the issue; and (4) the resolution of the issue was necessary to support a valid and final judgment on the
  merits.” Wyly v. Weiss, 697 F.3d 131, 141 (2d Cir. 2012) (internal citations omitted).


                                                        14
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25            Page 15 of 22 PageID #:
                                              1062



  claims asserted in the subsequent action were, or could have been, raised in the prior action.”

  Mendez v. Pretium Mortg. Credit Partners I, Loan Acquisition, LP, No. 21-CV-

  826(KAM)(JRC), 2023 WL 8283148, at *5 (E.D.N.Y. Nov. 30, 2023) (“Mendez”) (internal

  citations omitted) (collecting cases).

         Under New York law, res judicata, also referred to as “claim preclusion,” “bars future

  litigation of claims that were or could have been raised in a prior proceeding where that prior

  proceeding resulted in a final judgment on the merits.” Hourani v. Wells Fargo Bank, N.A., 158

  F. Supp. 3d 142, 146–47 (E.D.N.Y. 2016) (“Hourani”). New York applies a transactional

  approach to res judicata, “meaning that ‘once a claim is brought to a final conclusion, all other

  claims arising out of the same transaction or series of transactions are barred, even if based upon

  different theories or if seeking a different remedy.’” Id. at 147 (quoting JP Morgan Chase Bank,

  822 N.Y.S.2d 122 (N.Y. App. Div. 2d Dep’t 2006)).

         Based on upon the foregoing, this Court determines that Justice Leo’s November 12,

  2024 Judgment does not meet the necessary elements to successfully assert the affirmative

  defenses of res judicata and collateral estoppel. First, the present action does not sufficiently

  meet the three-element test set forth infra for res judicata. Although the previous action

  involved the same parties, Defendants have not demonstrated that the Matrimonial Proceeding

  involved an adjudication on the merits of anything except for the cross-motion brought forth by

  Plaintiff. That cross-motion is not the subject of the present litigation. Defendants have also not

  shown that the claims asserted in this action were – or could have been – raised in the prior

  action, given that State Court only found it lacked jurisdiction over the OSC motion practice

  brought by Defendants. ECF No. 22-16 at 4. Given the lack of jurisdiction over the OSC filings,

  it remains unclear how the Plaintiff could have set forth the abuse of process and NYJL §487(1)



                                                   15
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25              Page 16 of 22 PageID #:
                                              1063



  claims in the Matrimonial Proceeding. Even under the New York approach, res judicata still

  requires a “prior proceeding [that] resulted in a final judgment on the merits.” Hourani, 158 F.

  Supp. 3d at 146–47 (emphasis added).

         Second, the undersigned finds that Defendants likely fare no better relying on the doctrine

  of collateral estoppel. Once again, a simple application of the four elements for collateral

  estoppel will suffice: (i) Defendants have not shown that identical issues were raised in a

  previous proceeding, (ii) they have failed to adequately argue that the issues underlying this

  action were “actually litigated and decided in the previous proceeding,” (iii) they have failed to

  show that the parties had a full and fair opportunity to litigate the issue, and (iv) they have failed

  to show that resolution of the issue was necessary to support a valid and final judgment on the

  merits. See Wyly, 697 F.3d at 141 (internal citations omitted). Here, it appears that identical

  issues were not raised in the state proceeding, and the issues underlying this action were not

  litigated due to the absence of jurisdiction over the OSC motion practice. Once more, this

  analysis would differ if the Plaintiff merely attempted to relitigate the cross-motion Judge Leo

  denied on the merits in the state proceeding. This case is not a recycled reiteration of Plaintiff’s

  cross-motion seeking sanctions.

         Plaintiff further argues that, at the very least, her NYJL § 487 claim is not procedurally

  foreclosed because such actions cannot be brought forth by motion. See ECF No. 36 at 3.

  Plaintiff is likely correct since the state case before Judge Leo was brought forth by motion, and

  not by a separate plenary action. See e.g., Gurvey v. Cowan, Liebowitz & Latman, P.C., 2014

  WL 6491281, at *7 (S.D.N. Y Nov. 20, 2014) (“[T]here is no legal basis to grant plaintiff the

  relief she seeks [under Section 487] by motion.”); see also Brake v. Slochowsky & Slochowsky,

  LLP, 504 F. Supp. 3d 103, 116 (E.D.N.Y. 2020); Klein v. Rieff, 135 A.D. 3d 910, 911 (N.Y.



                                                    16
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25              Page 17 of 22 PageID #:
                                              1064



  App. 2d Dep't 2016); Trautenberg v. Paul, Weiss, Rifkind, Wharton & Garrison LLP, 629 F.

  Supp. 2d 259, 260 (S.D.N.Y. 2007).

         For such claims, the complaining party must file and serve a complaint satisfying the

  standards of Twombly and Iqbal, see Haggerty v. Ciarelli & Dempsey, 374 Fed. App'x 92, 93 (2d

  Cir. 2010), and the defendant is entitled to the full panoply of rights accorded to parties to a civil

  litigation. Hong v. Mommy's Jamaican Mkt. Corp., No. 20-CV-9612, 2024 WL 3824394, at *22

  (S.D.N.Y. Aug. 14, 2024) (quotation marks omitted); see also Urias v. Daniel P. Buttafuoco &

  Assocs., PLLC, 238 N.E.3d 836, 842 (N.Y. 2024) (finding that §487 “must be read to allow a

  plenary action for deceit, even where success on that claim might undermine a separate final

  judgment.”). Therefore, a cross-motion that did not squarely address the merits of a §487

  violation likely cannot suffice as an independent plenary action.

         B.      The Merits of Plaintiff’s Claims

         The Court additionally finds that Plaintiff’s claims for breach of contract, abuse of

  process, and violation of the NYJL are likely to survive Defendants’ Motion to Dismiss.

  Generally, to survive a motion to dismiss under Rule 12(b)(6), a complaint must plead “enough

  facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 570 (2007). A claim is facially plausible “when the plaintiff pleads factual content that

  allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint is properly dismissed where,

  as a matter of law, “the allegations in a complaint, however true, could not raise a claim of

  entitlement to relief.” Twombly, 550 U.S. at 558. When considering a motion to dismiss under

  12(b)(6), the Court must assume all well-pleaded facts to be true, “drawing all reasonable

  inferences in favor of the plaintiff.” Koch v. Christie’s Int’l PLC, 699 F.3d 141, 145 (2d Cir.



                                                    17
Case 2:24-cv-04751-RPK-JMW              Document 43 Filed 02/28/25               Page 18 of 22 PageID #:
                                               1065



  2012). However, this tenet does not apply to legal conclusions or “threadbare recitals of a cause

  of action’s elements.” Ashcroft v. Iqbal, 556 U.S. at 663. Pleadings that offer only “labels and

  conclusions” or “a formulaic recitation of the elements of a cause of action will not

  do.” Twombly, 550 U.S. at 555. More is required.

          Here, assuming the truth of the allegations as the Court must at this stage, the

  undersigned finds Plaintiff has likely stated a claim for breach of contract as against Defendant

  Sinha. In her Amended Complaint, Plaintiff pled that both parties entered into a Retainer

  Agreement for legal services that specified the amount of money to be paid, the services to be

  rendered, and the rights and obligations of both parties. See ECF No. 7. Defendant Sinha

  willingly entered into such agreement and affirmed his agreement “by paying the initial flat fee

  retainer on February 9 and part of the second retainer agreement . . . pursuant to the contract

  terms emailed and mailed to him on January 6, which he ultimately returned signed ‘as of

  January’ on March 5, 2023.” Id. at 28-29. Plaintiff kept a detailed log of her work for

  Defendant Sinha and then Sinha refused to pay. Id. To date, Plaintiff has not been paid $37,

  272.50. These proffered facts are likely sufficient to plead breach of contract under New York

  law as asserted by the Plaintiff. See e.g., Dee v. Rakower, 976 N.Y.S.2d 470, 474 (N.Y. App.

  Div. 2d Dep’t 2013) (To state a claim for breach of contract under New York law, a plaintiff

  must allege: (1) the existence of a contract; (2) performance by the plaintiff; (3) defendant’s

  breach; and (4) damages resulting from the breach). 12


  12
     However, the Court notes that Plaintiff’s other claims for quantum meruit and accounts stated will
  likely be dismissed as duplicative of her breach of contract claim. See e.g., Mid-Hudson Catskill Rural
  Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 175 (2d Cir. 2005) (“Having successfully
  brought a breach-of-contract claim based on defendant's failure to compensate it for the services it
  provided, plaintiff may not recover a second time through quantum meruit.”); see also BidSpotter, Inc. v.
  Koster Indus., Inc., No. CV211726 (DG)(ARL), 2022 WL 282955, at *3 (E.D.N.Y. Jan. 3, 2022), report
  and recommendation adopted, No. 21CV01726 (DG)(ARL), 2022 WL 280802 (E.D.N.Y. Jan. 31, 2022)
  (“The complaint in this action sufficiently alleges that a series of valid contracts existed between the
                                                     18
Case 2:24-cv-04751-RPK-JMW              Document 43 Filed 02/28/25              Page 19 of 22 PageID #:
                                               1066



          Plaintiff can also likely adequately state an abuse of process claim. Under New York law,

  “a malicious abuse-of-process claim lies against a defendant who (1) employs regularly issued

  legal process to compel performance or forbearance of some act (2) with intent to do harm

  without excuse of justification, and (3) in order to obtain a collateral objective that is outside the

  legitimate ends of the process.” Savino v. City of New York, 331 F.3d 63, 76 (2d Cir. 2003)

  (internal citation omitted). The New York Court of appeals has made it clear that “[a] malicious

  motive alone ... does not give rise to a cause of action for abuse of process.” Curiano v. Suozzi,

  469 N.E.2d 1324 (N.Y. 1984). Thus, to successfully establish an abuse of process claim, a

  plaintiff must establish that the defendants had an improper purpose in instigating the action. See

  Dean v. Kochendorfer, 237 N.Y. 384, 143 N.E. 229 (1924) (distinguishing between improper

  motive and improper purpose and concluding that improper purpose is necessary to make out an

  abuse-of-process claim—improper motive is not enough). Here, Plaintiff has adequately pled

  that Defendants used the legal process, through their OSC filing, to primarily harass her and

  improperly extort earned legal fees. Plaintiff successfully alleges that the collateral objectives of

  harassment and extortion are “outside the legitimate ends of the process” given that the filing of

  a motion, without any basis in fact or law, could be reasonably interpreted as a vexatious fraud

  upon the court free of any legitimate purpose besides an intent to do harm.

          Lastly, Plaintiff has also likely successfully alleged a violation of NYJL §487. In order

  to successfully assert a violation of this provision, a plaintiff must allege that “(1) defendant is

  guilty of deceit or collusion, (2) defendant had an intent to deceive the court or any party, and (3)

  that there were actual damages caused by the deceit or collusion alleged.” Bryant v. Silverman,

  284 F. Supp. 3d 458, 471–72 (S.D.N.Y. 2018). In addition, courts have added two requirements:


  parties, which Koster breached, causing damage to BidSpotter. Since this dispute is governed by valid
  contracts, BidSpotter is not entitled to recover on an accounts stated theory.”)
                                                     19
Case 2:24-cv-04751-RPK-JMW            Document 43 Filed 02/28/25             Page 20 of 22 PageID #:
                                             1067



  first, that the deceit is “extreme” or “egregious,” and second, that, if the NYJL § 487 claim is

  brought in a lawsuit separate from the one in which the deceit allegedly occurred, the deceit be

  “merely a means to the accomplishment of a larger fraudulent scheme.” Makhnevich v. MTGLQ

  Invs., L.P., No. 19 CIV. 72 (AT) (SN), 2021 WL 3406484, at *9 (S.D.N.Y. Aug. 4, 2021)

  (internal citation omitted). Damages can include the costs of defending a litigation that is

  “grounded in a material misrepresentation of fact . . . [b]ecause in such a case, the lawsuit could

  not have gone forward in the absence of the material misrepresentation, that party's legal

  expenses in defending the lawsuit may be treated as the proximate result of the

  misrepresentation.” Id. at *10.

         Here, Plaintiff alleges that Defendant Fallon and Defendant Sinha engaged in deceit and

  collusion by appearing before Judge Leo knowing “he had no jurisdiction to sign an OSC” and

  knowing that the order was “wholly false and fraudulent” since it relied upon “false facts and

  law.” ECF No. 7 at 32. Plaintiff further alleges Defendants’ intent was to deceive Judge Leo into

  granting the OSC as part of their scheme to extort her legal fees, and that the OSC was “a means

  to the accomplishment” of Defendants’ fraudulent scheme. Id. Additionally, Plaintiff alleges that

  she is entitled to treble damages of the counsel fees, disbursements, and costs she incurred

  defending against Defendants’ OSC. Id. Lastly, this Court finds that filing a fraudulent OSC

  accusing an attorney of misconduct could likely qualify as an egregious act of deceit. Based on

  the weakness of Defendants’ motion to dismiss, this factor weighs against granting the stay.

  II.    Breadth of Discovery Sought

         Defendants’ discovery burden claims are not enough to warrant finding that Plaintiff’s

  discovery requests would be too burdensome to comply with. This action involves only two

  essential witnesses — Defendant Fallon and Defendant Sinha — “intimately involved in the



                                                   20
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25             Page 21 of 22 PageID #:
                                              1068



  same facts and jointly liable for causes of action.” ECF No. 36 at 3; see also Guiffre v. Maxwell,

  No. 15 CIV. 7433 (RWS), 2016 WL 254932 (S.D.N.Y. Jan. 20, 2016) (denying a stay of

  discovery where the allegations “involve[d] a single claim against a single defendant, related to

  an ongoing series of events in which Defendant was alleged to be personally and intimately

  involved”); see also Fahey v. Inc. Vill. of Manorhaven, 22-cv-7041 (KAM) (JMW), 2023 U.S.

  Dist. LEXIS 25883, at *3 (E.D.N.Y. Feb. 15, 2023) (“Defendants do not sufficiently address the

  breadth of discovery or the burdens of responding to such discovery.”). Based on an insufficient

  showing of burden, this factor weighs against granting the stay.



  III.   Prejudice to the Parties?

         There is a paucity of detail on the prejudice prong from the submissions on the motion.

  Neither set forth in any detail the extent of prejudice in this case. From the few cogent

  arguments the parties did make, it appears that staying discovery would slightly prejudice

  Plaintiff given that they have “invested time in a discovery conference,” exchanged Rule 26

  preliminary discovery, and served discovery requests and deposition requests in January. ECF

  No. 36 at 3. Defendants primarily argue that this matter is in the early stages and that no

  prejudice would result in simply waiting for a decision on their motion to dismiss. ECF No. 32 at

  1. Courts in this Circuit grant short stays that will be lifted upon the decision of a motion to

  dismiss and “neither unnecessarily delay the action nor prejudice the plaintiffs thereby.” Spencer

  Trask Software & Info. Servs., LLC v. Rpost Int’l Ltd., 206 F.R.D. 367 (S.D.N.Y 2002); Nat’l

  Rifle Assn’n of Am. V Cuomo, 2020 WL 7338588, at *4 (N.D.N.Y. 2020). Given the cursory

  allegations of prejudice, Defendants are likely correct that a brief stay pending the resolution of




                                                   21
Case 2:24-cv-04751-RPK-JMW             Document 43 Filed 02/28/25            Page 22 of 22 PageID #:
                                              1069



  his motion would not be sufficiently prejudicial to warrant denying the stay. Accordingly, this

  factor cuts in favor of granting the stay.

                                               CONCLUSION

           For the foregoing reasons, Defendant’s Motion to Stay (ECF No. 32) is DENIED. The

  parties are directed to appear for an in-person Status Conference before the undersigned set for

  March 14, 2025 at 12:00 PM in Courtroom 1020 to address Plaintiff’s Motion for Extension of

  Time to Complete Discovery at ECF No. 42 and to discuss discovery dates and deadlines in the

  case.

  Dated:         Central Islip, New York
                 February 28, 2025

                                                          S O O R D E R E D:

                                                          /S/James M. Wicks
                                                             JAMES M. WICKS
                                                        United States Magistrate Judge




                                                   22
